 Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 1 of 29 PageID #: 129



                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

 SH3 HEALTH CONSULTING, LLC, et al.,         )
                                             )
           Plaintiffs,                       )
                                             )
     v.                                      )
                                                       Case No.: 4:20-cv-00605-SRC
                                             )
 SAM PAGE, M.D., in his official capacity as )
 County Executive of St. Louis County, )
 Missouri, et al.,                           )
                                             )
           Defendants.                       )

       DEFENDANTS SAM PAGE, M.D. AND EMILY DOUCETTE, M.D.’S
     OPPOSITION TO PLAINTIFFS SH3 HEALTH CONSULTING, LLC AND
  ELDER ANTIQUES, LLC’S MOTION FOR TEMPORARY RESTRAINING ORDER

                                                 LEWIS RICE LLC
Dated: May 5, 2020                       By:     /s/ Neal F. Perryman
                                                 Neal F. Perryman, #43057 (MO)
                                                 Michael L. Jente, #62980 (MO)
                                                 Jerina D. Phillips, #65103 (MO)
                                                 600 Washington Avenue, Suite 2500
                                                 St. Louis, Missouri 63101
                                                 Telephone: (314) 444-7661
                                                 Facsimile: (314) 612-7661
                                                 nperryman@lewisrice.com
                                                 and
                                                 BETH ORWICK
                                                 COUNTY COUNSELOR
                                                 Steven J. Capizzi, #56209 (MO)
                                                 Associate County Counselor
                                                 Office of County Counselor
                                                 41 S. Central, Ninth Floor
                                                 Clayton, MO 63105
                                                 (314) 615-7042 tel.
                                                 (314) 615-3732 fax
                                                 scapizzi@stlouisco.com

                                                 Attorneys for Defendants Sam Page, M.D.
                                                 and Emily Doucette, M.D.



2378019
 Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 2 of 29 PageID #: 130



                                                     TABLE OF CONTENTS

I.         INTRODUCTION ................................................................................................................ 1

II.        BACKGROUND .................................................................................................................. 2

      A. Factual Background ...............................................................................................................2

         1. The Evolution of the Worldwide COVID-19 Health Crisis ............................................... 2

         2. The Current County Stay-at-Home Order........................................................................... 3

         3. The Missouri Department of Health and Senior Services Orders....................................... 4

      B. Procedural Background..........................................................................................................5

      C. Allegations in the Complaint .................................................................................................6

III.       ARGUMENT ........................................................................................................................ 6

      A. Standard of Review ................................................................................................................7

      B. SH3’s Motion for TRO Should Be Denied Because the Court Should Stay this Matter

           Pursuant to the Pullman Abstention Doctrine and Related Issues of Comity. ......................7

      C. SH3’s Motion for TRO Should Be Denied Because the Balance of the Equities and

           Public Interest Strongly Disfavor Granting the Requested Relief. ........................................8

      D. SH3’s Motion for TRO Should Be Denied under the Supreme Court’s Longstanding,

           and the Eighth Circuit’s Recently Applied, Standard for Evaluating Constitutional

           Challenges to Governmental Responses to Public Health Crises such as that Presented

           by COVID-19. .....................................................................................................................11

         1. Jacobson v. Massachusetts ............................................................................................... 11

         2. In re Rutledge .................................................................................................................... 13




                                                                         i
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 3 of 29 PageID #: 131



      3. The County Stay-at-Home Order Has a Real and Substantial Relation to the Protection

               of the Public Health and Safety and Is Not, Beyond All Question, a Plain, Palpable

               Invasion of Rights Secured by the Fundamental Law. ............................................. 14

  E. SH3’s Motion for TRO Should Be Denied because SH3 Is Not Likely to Succeed on the

       Merits, in that the County Stay-at-Home Order Is a Lawful Exercise of Powers Bestowed

       by Article VI, Section 18(c) of the Missouri Constitution. .................................................17

  F. SH3’s Motion for TRO Should Be Denied because SH3 Is Not Likely to Succeed on the

       Merits, in that the County Stay-at-Home Order Is Consistent with 19 CSR 20.20-050(3)

       and Section 192.290 RSMo., the Regulation and Statute on which SH3 Relies. ................20

IV.    CONCLUSION ................................................................................................................... 22




                                                                  ii
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 4 of 29 PageID #: 132



                                             TABLE OF AUTHORITIES

Cases

401 S. 18th Street, LLC v. O’Loughlin,

  Case No. 4:20-cv-00583 SRC, 2020 WL 2114493 (E.D. Mo. May 4, 2020)............................. 7

Amdocs, Inc. v. Bar,

  No. 4:16CV323 HEA, 2016 WL 9405679 (E.D. Mo. May 23, 2016)........................................ 7

Avanti Petroleum, Inc. v. St. Louis Cty.,

  974 S.W.2d 506 (Mo. Ct. App. 1998)....................................................................................... 18

Barber v. Jackson Cty. Ethics Comm'n,

  935 S.W.2d 62 (Mo. Ct. App. 1996)......................................................................................... 19

Birchansky v. Clabaugh,

  955 F.3d 751 (8th Cir. 2020) ...................................................................................................... 6

Casper v. Hetlage,

  359 S.W.2d 781 (Mo. 1962) ..................................................................................................... 19

City of Berkeley, Missouri v. Ferguson-Florissant Sch. Dist.,

  No. 4:19CV168 RLW, 2019 WL 1558487 (E.D. Mo. Apr. 10, 2019) ....................................... 7

Craig v. City of Macon,

  543 S.W.2d 772 (Mo. banc 1976) ............................................................................................. 17

Dataphase Sys., Inc. v. C.L. Sys., Inc.,

  640 F.2d 109 (8th Cir. 1981) ...................................................................................................... 7

Doe v. McCulloch,

  835 F.3d 785 (8th Cir. 2016) ...................................................................................................... 8




                                                                 iii
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 5 of 29 PageID #: 133



Flower Valley Shopping Ctr., Inc. v. St. Louis Cnty.,

  528 S.W.2d 749 (Mo. banc 1975) ............................................................................................. 17

Frank v. City of St. Louis,

  Case No. 4:20-CV-00597 SEP, --- F. Supp. 3d ----, 2020 WL 2116392 (E.D. Mo. May 2,

  2020) ................................................................................................................................. 8, 9, 10

Gelco Corp. v. Coniston Partners,

  811 F.2d 414 (8th Cir. 1987) ...................................................................................................... 7

Gish v. Newsom,

  2020 WL 1979970 .............................................................................................................. 15, 16

Green v. Missouri,

  |734 F. Supp. 2d 814 (E.D. Mo. 2010) ........................................................................................ 6

Green v. Nocciero,

  676 F.3d 748 (8th Cir. 2012) ...................................................................................................... 6

Hartman v. Acton,

  Case No. 2:20-CV-1952, --- F. Supp. 3d ----, 2020 WL 1932896 (S.D. Ohio Apr. 21, 2020) 11

Hellman v. St. Louis Cnty.,

  302 S.W.2d 911 (Mo. 1957) ............................................................................................... 17, 19

In re Abbott,

  954 F.3d 772 (5th Cir. 2020) .................................................................................................... 14

In re Rutledge,

  No. 20-1791, --- F.3d ----, 2020 WL 1933122 (8th Cir. Apr. 22, 2020) ........................... passim

Jacobson v. Massachusetts,

  197 U.S. 11 (1905) ............................................................................................................. passim




                                                                      iv
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 6 of 29 PageID #: 134



King v. Blake,

  No. 4:08CV1050 RWS, 2009 WL 73678 (E.D. Mo. Jan. 9, 2009) ............................................ 7

Legacy Church, Inc. v. Kunkel,

  No. CIV 20-0327 JBSCY, 2020 WL 1905586 (D.N.M. Apr. 17, 2020) .................................... 2

Lighthouse Fellowship Church v. Northam,

  Case No. 2:20CV204, --- F. Supp. 3d ----, 2020 WL 2110416 (E.D. Va. May 1, 2020) ......... 10

McDougall v. Cnty. of Ventura Cal.,

  Case No. 20-CV-02927-CBM-(ASx), 2020 WL 2078246 (C.D. Cal. Apr. 1, 2020) ............... 11

Modern Computer Sys., Inc. v. Modern Banking Sys., Inc.,

  871 F.2d 734 (8th Cir. 1989) ...................................................................................................... 7

Pepper v. St. Charles Cty., Missouri,

  517 S.W.3d 590 (Mo. Ct. App. 2017)....................................................................................... 17

Prince v. Massachusetts,

  321 U.S. 158 (1944) .................................................................................................................. 12

Pursuing America’s Greatness v. Fed. Election Comm’n,

  831 F.3d 500 (D.C. Cir. 2016) .................................................................................................... 8

Readey v. St. Louis Cty. Water Co.,

  352 S.W.2d 622 (Mo. 1961) ..................................................................................................... 19

Scott v. Dep’t of Pub. Safety Excise Div.,

  792 F. Supp. 666 (E.D. Mo. 1992) ............................................................................................. 6

State ex rel. St. Louis Cty. v. Campbell,

  498 S.W.2d 833 (Mo. Ct. App. 1973)................................................................................. 17, 19




                                                                   v
 Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 7 of 29 PageID #: 135



Tolle v. Northam,

   No. 1:20-CV-363 LMB/MSN, 2020 WL 1955281 (E.D. Va. Apr. 8, 2020) .................... 8, 9, 10

United States v. Caltex,

   344 U.S. 149 (1952) .................................................................................................................. 13

Winter v. Nat. Res. Def. Council, Inc.,

   555 U.S. 7 (2008) ........................................................................................................................ 8

Statutes

Revised Statutes of Missouri, Section 192.290 ...................................................................... 20, 21

Revised Statutes of Missouri, Section 192.300 ............................................................................ 18

Other Authorities

St. Louis County Ordinance No. 602.020 ..................................................................................... 18

Regulations

Missouri Code of State Regulations: Title 19 Section 20-20.050 ............................................... 18

Missouri Code of State Regulations: Title 19, Section 20-20.010(37) ........................................ 20

Missouri Code of State Regulations: Title 19, Section 20-20.040(2)(E) ..................................... 19

Missouri Code of State Regulations: Title 19, Section 20-20.040(2)(G) .................................... 19

Missouri Code of State Regulations: Title 19, Section 20-20.040(2)(I) ...................................... 19

Missouri Code of State Regulations: Title 19, Section 20-20.050(3) .................................... 20, 21

Constitutional Provisions

Constitution of Missouri, Article IV, Section 18(c) ....................................................................... 7

Constitution of Missouri, Article VI, Section 18 ...................................................................... 2, 17

Constitution of Missouri, Article VI, Section 18(c) ............................................................... 17, 19

Missouri Constitution of 1945, Article IV, Section 37 ................................................................. 18




                                                                     vi
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 8 of 29 PageID #: 136



       Defendants Sam Page, M.D., County Executive of St. Louis County, Missouri

(“Dr. Page”), and Emily Doucette, M.D., Director of the St. Louis County Public Health

Department (“Dr. Doucette”) (together, the “County Defendants”), pursuant to the Court’s Order

dated May 4, 2020 (Doc. No. 10), submit this Memorandum in Opposition to the Motion for

Temporary Restraining Order (“Motion for TRO”) of Plaintiffs SH3 Health Consulting, LLC

(“SH3”) and Elder’s Antiques, LLC (“Elder”) (together, “Plaintiffs”).1

                                   I.      INTRODUCTION

       Plaintiffs SH3 and Elder seek to enjoin aspects of the County’s Stay-at-Home Order and

the stay-at-home order of the City of St. Louis (the “City” and the “City’s Stay-at-Home Order”),

respectively, in light of the expiration of certain stay-at-home orders previously entered by

Randall W. Williams, M.D., FACOG, the Director of the Missouri Department of Health and

Senior Services. (See Complaint, Doc. No. 1, passim.) SH3 contends that the provisions of the

County Stay-at-Home Order restricting and limiting the activities of non-Essential Businesses (as

defined by the County Stay-at-Home Order) are no longer authorized under Missouri law, such

that their continued imposition violates certain of SH3’s rights secured by the U.S. Constitution.

       The County Defendants respectfully submit that SH3’s Motion for TRO should be denied.

As an initial matter, as set forth in greater detail in the County Defendants’ Motion to Stay and

Memorandum in Support filed contemporaneously herewith, the County Defendants submit that

the Court should abstain from resolving the constitutional questions presented by SH3 in

accordance with the Pullman abstention doctrine and related issues of comity. Moreover, the



       1
         Because only SH3 asserts claims and raises challenges with respect to St. Louis County
(the “County”) and the County Defendants, this Memorandum in Opposition is directed
specifically to the Motion for TRO to the extent filed and asserted by SH3. That said, several of
the County Defendants’ arguments would apply with equal force to the claims asserted by Elder.



                                                1
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 9 of 29 PageID #: 137



County Defendants submit that the balance of the equities and public interest overwhelmingly

weigh against granting the relief requested by SH3, such that SH3’s Motion for TRO should be

denied on that basis alone. Relatedly, pursuant to the framework articulated over a century ago by

the United States Supreme Court and very recently articulated by the Eighth Circuit Court of

Appeals, the County Stay-at-Home Order is constitutional notwithstanding any burdening of

SH3’s constitutional rights, as it is intended to, and does, protect public health and safety. Finally,

the County Defendants contend that, contrary to SH3’s contentions, the Stay-at-Home Order is a

proper exercise of the authority bestowed upon the County and the County Defendants under

Article VI, Section 18 of the Missouri Constitution and, in any event, comports with applicable

Missouri statutes and regulations. For all of these reasons, as discussed further below, SH3’s

Motion for TRO should be denied.

                                     II.     BACKGROUND

A.     Factual Background

      1.       The Evolution of the Worldwide COVID-19 Health Crisis

       St. Louis County, along with the rest of the world, is in the midst of an unprecedented

global health crisis due to the COVID-19 virus. See In re Rutledge, No. 20-1791, --- F.3d ----,

2020 WL 1933122, at *1 (8th Cir. Apr. 22, 2020). “On January 20, 2020, the United States Centers

for Disease Control and Prevention (‘CDC’) reported the United States’ first case of coronavirus

in the State of Washington.” Legacy Church, Inc. v. Kunkel, No. CIV 20-0327 JB\SCY, 2020 WL

1905586, at *2 -3 (D.N.M. Apr. 17, 2020). On March 13, 2020, the President of the United States

declared the COVID-19 outbreak a national emergency. Legacy Church, 2020 WL 1905586, at

*3.

       Every day, the number of people infected with COVID-19 continues to rise, along with the

virus’ death toll. As of May 5, 2020, testing has revealed 1,171,510 cases in the United States


                                                  2
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 10 of 29 PageID #: 138



(19,138 new cases day-over-day), with 68,279 deaths (823 new deaths day-over-day). CDC, Cases

in the U.S., available at: https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-

us.html (last visited May 5, 2020). The County currently has 3,569 confirmed cases of COVID-

19 and 189 deaths.        St. Louis County, Missouri, COVID-19 Statistics, available at:

https://stlcorona.com/resources/covid-19-statistics1/ (last visited May 5, 2020). By way of

comparison, the entire State of Missouri has 8,916 cases of and 377 deaths on account of COVID-

19. Missouri Department of Health & Senior Services, COVID-19 Outbreak, available at:

https://health.mo.gov/living/healthcondiseases/communicable/novel-coronavirus/results.php (last

visited May 5, 2020). In other words, COVID-19 is disproportionately prevalent in the County

(and, as the City may contend, the City as well) as compared to the rest of the State.

     2.        The Current County Stay-at-Home Order

       On April 20, 2020, Dr. Doucette issued an Extension and Amendment of the Stay-at-Home

Order, i.e., the County Stay-at-Home Order. (See Exhibit 4 to Plaintiffs’ Complaint, Doc. No. 1-

7.) The County Stay-at-Home Order explains its purpose thusly:

       The intent of this order is to ensure that the maximum number of people remain in
       their places of residence to the maximum extent feasible, while enabling essential
       services to continue, to slow the spread of COVID-19 within St. Louis County.
       When people leave their place of residence, whether to obtain or perform essential
       services, or to otherwise facilitate otherwise authorized activities, they should at all
       times reasonably comply with Social Distancing Requirements. This order extends
       the effective date of the order until it is rescinded.

(Id., § II.) As relevant here, the County Stay-at-Home Order requires that all businesses other than

Essential Businesses (as defined in the County Stay-at-Home Order, see § III(F)2) cease their


       2
         As relevant here, the County Stay-at-Home Order does not include “fitness and exercise
gyms” or “similar facilities” within the definition of “Healthcare Operations,” which are
considered an Essential Business under the County Stay-at-Home Order. (County Stay-at-Home
Order, Exhibit 4 to Plaintiffs’ Complaint, Doc. No. 1-7, § III(M).) In short: There is no dispute
that SH3 is not an “Essential Business” within the meaning of the County Stay-at-Home Order,
such that, for example, SH3 cannot open its gym to the public for purposes of persons exercising.


                                                  3
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 11 of 29 PageID #: 139



activities, with certain exceptions:

       C.         Businesses

                  1.    Essential Businesses may continue necessary activities so long as
                        they comply, to the maximum extent possible, with Social
                        Distancing Requirements for both employees and members of the
                        public, including but not limited to, customers standing in line. All
                        Essential Businesses are strongly encouraged to remain open.

                  2.    All businesses other than Essential Businesses shall cease all
                        activities within the County except:

                        i.     Minimum Basic Operations;3 and

                        ii.    business activities consisting of employees or contractors
                               performing activities at their own Residences (i.e., working
                               from home). Businesses may provide pickup or delivery
                               services so long as they otherwise comply with this Order.

                  3.    No businesses or persons may operate or engage in a Prohibited
                        Activity.

(Id., § IV(C).)

     3.           The Missouri Department of Health and Senior Services Orders

       The Missouri Department of Health and Senior Services (“DHSS”) previously enacted

stay-at-home orders. (See Exhibit 7 and Exhibit 8 to Plaintiffs’ Complaint, Doc. Nos. 1-10 and 1-

11.) The DHSS’s final stay-at-home order expired by its own terms on May 3, 2020, though

schools remain closed for the remainder of the 2019-2020 academic school year. (Id.)

       On April 27, 2020, the DHSS entered an order setting forth further regulations and

limitations in connection with limiting the spread of COVID-19. (A copy of the DHSS’s April 27,




       3
          “Minimum Basic Operations” is defined in the County Stay-at-Home Order as “the
minimum necessary activities to maintain the value of a business’s inventory, provide security,
process payroll or employee benefits, or to facilitate employees of the business being able to
continue to work remotely from their Residences.” (County Stay-at-Home Order, Exhibit 4 to
Plaintiffs’ Complaint, Doc. No. 1-7, § III(P).)


                                                  4
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 12 of 29 PageID #: 140



2020 Order is attached hereto as Exhibit A.) Importantly, the DHSS stated:

       Pursuant to section 192.290, RSMo., this Order shall be observed throughout the
       state and enforced by all local and state health authorities; provided however,
       nothing herein shall limit the right of local authorities to make such further
       ordinances, rules, regulations, and orders not inconsistent with this Order
       which may be necessary for the particular locality under the jurisdiction of
       such local authorities. Local public health authorities are hereby directed to
       carry out and enforce the provisions of this Order by any legal means.

(Id., p. 2 (emphasis added).) Relatedly, guidelines from the Governor of the State of Missouri

and/or the DHSS provide:

       Can my local health authority impose requirements that are more restrictive?

       Yes. This Order establishes the minimum requirements that must be complied with
       statewide. Local health authorities may enforce more restrictive public health
       requirements for businesses or individuals.

       The only exception is the Order from the Director of the Department of Health and
       Senior Services dated March 24, 2020, removing the authority of a local health
       authority from closing or restricting the operations of a business which is a part of
       the food supply, whether that be agricultural production, manufacturing,
       distribution, or sale of food. This limited waiver does not limit the authority of a
       local health authority from closing or restricting the operations of a retail food
       establishment.

(Guidelines and Frequently Asked Questions, attached as Exhibit B hereto, pp. 6-7 (emphasis

added).)

B.     Procedural Background

       Plaintiffs commenced this action on May 4, 2020. (See Doc. No. 1.) That same day,

Plaintiffs filed their Motion for TRO. (Doc. No. 2.) In their Motion for TRO, Plaintiffs seek to

enjoin certain aspects of the County Stay-at-Home Order and the City Stay-at-Home Order. (See

Motion for TRO, Doc. No. 2, “Wherefore” clause, p. 5.)

       Pursuant to the Court’s May 4, 2020 Order, the County Defendants’ instant Memorandum

in Opposition to Plaintiffs’ Motion for TRO is due by 11:59 p.m. tonight, May 5, 2020. (See Doc.




                                                5
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 13 of 29 PageID #: 141



No. 10.) Argument is set on Plaintiffs’ Motion for TRO for tomorrow, Wednesday, May 6, 2020

at 10:30 a.m. (See Doc. No. 11.)

C.     Allegations in the Complaint

       SH3 contends that the continued implementation of the County Stay-at-Home Order

infringes upon its rights of association and assembly under the First Amendment to the U.S.

Constitution and due process rights under the Fourteenth Amendment to the U.S. Constitution, in

that SH3’s gym must remain closed (i.e., its members cannot visit the gym to exercise).4

(Complaint, Doc. No. 1, ¶¶ 51-52.) To this end, SH3 assert claims under 42 U.S.C. § 1983 and

the Declaratory Judgment Act, 28 U.S.C. § 2201. (Id., ¶¶ 8-9, 86.)

                                      III.    ARGUMENT

       As discussed further below, SH3’s Motion for TRO should be denied because:

(i) this Court should stay this matter pursuant to the Pullman abstention doctrine and related issues

of comity; (ii) the balance of the equities and public interest strongly disfavor granting SH3 the

injunctive relief it has requested, i.e., enjoining the County Stay-at-Home Order with respect to its

restrictions on non-essential businesses; (iii) under the applicable framework set forth by the

United States Supreme Court and as recently articulated by the Eighth Circuit Court of Appeals,

the County Stay-at-Home Order is a valid governmental response to a public health crisis

notwithstanding any otherwise impermissible burdening of SH3’s constitutional rights; (iv) the

County Stay-at-Home Order is a valid exercise of the County’s and the County Defendants’


       4
          SH3 also contends that its rights under the Privileges or Immunities Clause of the
Fourteenth Amendment to the U.S. Constitution are also violated. (Complaint, Doc. No. 1, ¶ 51.)
SH3 acknowledge that this claim is not viable under current law. (See id., p. 10 n.1.) SH3 is
correct. See, e.g., Birchansky v. Clabaugh, 955 F.3d 751, 756 (8th Cir. 2020); Green v. Missouri,
734 F. Supp. 2d 814, 840–41 (E.D. Mo. 2010), aff’d sub nom. Green v. Nocciero, 676 F.3d 748
(8th Cir. 2012), Scott v. Dep’t of Pub. Safety Excise Div., 792 F. Supp. 666, 669 (E.D. Mo. 1992).
Thus, the County Defendants do not address it further herein. That said, SH3’s Motion for TRO
would fail for reasons set forth herein even if based on this claim.


                                                 6
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 14 of 29 PageID #: 142



powers pursuant to Article VI, Section 18(c) of the Missouri Constitution; and (v) the County Stay-

at-Home Order is valid under the Missouri statutes and regulations relied upon by SH3.

A.     Standard of Review

       “In determining whether to issue a temporary restraining order, the Court must consider

four factors: (1) the threat of irreparable harm to the movant; (2) the potential harm to the

nonmoving party should an injunction issue; (3) the likelihood of success on the merits; and (4) the

public interest.” 401 S. 18th Street, LLC v. O’Loughlin, Case No. 4:20-cv-00583 SRC, 2020 WL

2114493, at *2 (E.D. Mo. May 4, 2020) (citing Dataphase Sys., Inc. v. C.L. Sys., Inc., 640 F.2d

109, 113 (8th Cir. 1981)). “The burden of proving these prerequisites is entirely on the party

seeking injunctive relief.” Id. (citing Modern Computer Sys., Inc. v. Modern Banking Sys., Inc.,

871 F.2d 734, 737 (8th Cir. 1989) (en banc); Gelco Corp. v. Coniston Partners, 811 F.2d 414, 418

(8th Cir. 1987)). “Temporary injunctive relief functions to ‘preserve the status quo until, upon

final hearing, a court may grant full, effective relief.’ ” City of Berkeley, Missouri v. Ferguson-

Florissant Sch. Dist., No. 4:19CV168 RLW, 2019 WL 1558487, at *2 (E.D. Mo. Apr. 10, 2019)

(quoting Amdocs, Inc. v. Bar, No. 4:16CV323 HEA, 2016 WL 9405679, at *3 (E.D. Mo. May 23,

2016)). “A temporary restraining order is an extraordinary and drastic remedy and the burden of

proving that the relief should be awarded rests entirely on the movant.” Id. (quoting King v. Blake,

No. 4:08CV1050 RWS, 2009 WL 73678, at *1 (E.D. Mo. Jan. 9, 2009)) (internal alterations

omitted).

B.     SH3’s Motion for TRO Should Be Denied Because the Court Should Stay this Matter
       Pursuant to the Pullman Abstention Doctrine and Related Issues of Comity.

       As discussed in the County Defendants’ Motion to Stay and Memorandum in Support,

which the County Defendants incorporate herein by reference, SH3’s Motion for TRO should be

denied because the Court should stay this matter pursuant to the Pullman abstention doctrine and



                                                 7
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 15 of 29 PageID #: 143



related issues of comity. In this regard, as discussed below, the County Defendants submit that

the County and the County Defendants have the authority under Missouri state law to enact and

enforce the County Stay-at-Home Order. To the extent any doubt exists, the issue would be, at

most, unsettled. The federal constitutional issue presented by SH3 might be mooted by a state-

court determination of the questions of state law SH3 has asserted, i.e., an alleged conflict between

state and local law. As a result, the County Defendants respectfully submit that the Court should

stay this matter and, concurrently, deny SH3’s Motion for TRO. See generally Doe v. McCulloch,

835 F.3d 785, 788 (8th Cir. 2016).

C.     SH3’s Motion for TRO Should Be Denied Because the Balance of the Equities and
       Public Interest Strongly Disfavor Granting the Requested Relief.

       In the event the Court declines to abstain and stay this matter, the County Defendants

submit that SH3’s Motion for TRO can be resolved based on the balance of the equities and public

interest factors alone.5 See generally Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 23-24

(2008) (“[E]ven if plaintiffs have shown irreparable injury from the Navy’s training exercises, any

such injury is outweighed by the public interest and the Navy’s interest in effective, realistic

training of its sailors. A proper consideration of these factors alone requires denial of the requested

injunctive relief.” (emphasis added)).

       This is the path the Eastern District of Virginia Federal Court took in a recent, similar case,

Tolle v. Northam. In Tolle, the plaintiff alleged that Virginia’s Temporary Stay at Home Order

due to Novel Coronavirus violated his constitutional rights in relation to his desire to participate

in public worship at his church and, as a result, the plaintiff sought an order from the court staying


       5
         When analyzing a motion for temporary restraining order opposed by the government,
the balance of equities and public interest factors merge because the government’s interest is the
public interest. See Frank v. City of St. Louis, Case No. 4:20-CV-00597 SEP, --- F. Supp. 3d ----,
2020 WL 2116392, at *5 (E.D. Mo. May 2, 2020); Pursuing America’s Greatness v. Fed. Election
Comm’n, 831 F.3d 500, 512 (D.C. Cir. 2016).


                                                  8
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 16 of 29 PageID #: 144



execution of the stay-at-home order. No. 1:20-CV-363 LMB/MSN, 2020 WL 1955281, at *1-2

(E.D. Va. Apr. 8, 2020). The court succinctly disposed of the plaintiff’s motion for injunctive

relief, without delving into the merits of the plaintiff’s constitutional claims, as the balance of the

equities and public interest overwhelmingly disfavored granting the relief sought by the plaintiff:

       Even if plaintiff were likely to succeed on the merits and to suffer irreparable harm
       in the absence of preliminary relief, his motion for injunctive relief fails because he
       has not established that the balance of equities tip in his favor or that an injunction
       is in the public interest. The alleged harms to plaintiff include the temporary
       inability to participate in public worship at his church and to conduct his
       duties as a practicing member of his church’s lay ministry for the brief period
       that remains before the Executive Order expires. Although the Court
       recognizes plaintiff’s constitutional concerns, those concerns do not outweigh
       the severe harm defendants would suffer if they could not enforce the
       Executive Order. Moreover, it is no exaggeration to recognize that the stakes
       for residents of the Commonwealth are life-or-death. Granting plaintiff’s
       motion for injunctive relief at this time would also disserve the public interest,
       because enabling large groups to gather in April and May 2020 without practicing
       social distancing, as Tolle seems to be requesting, could facilitate the spread of the
       virus and endanger the lives of many Virginians, particularly given that
       Coronavirus cases in the Commonwealth are expected to peak during that period.

       None of plaintiff’s other arguments in support of his motion are persuasive. For
       example, plaintiff suggests that the Executive Order is unprecedented. Although
       that may be true, the crisis imposed by the Coronavirus is also unprecedented, and
       the danger this crisis poses to the welfare of all residents in this Commonwealth as
       well as its neighboring states, fully justifies denial of plaintiff’s motion.

Id. at *1–2 (emphasis added).

       The same result is appropriate here. Plaintiffs ask the Court to lift public health restrictions

enacted to stymie the spread of COVID-19. As Judge Pitlyk of this Court recently recognized on

May 2, 2020, it cannot be said “that a temporary restraining order prohibiting the City from taking

the steps it reasonably deems necessary to slow the spread of Covid-19 serves the public interest.”

Frank, 2020 WL 2116392, at *5. As Judge Pitlyk recently explained:




                                                  9
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 17 of 29 PageID #: 145



       The City’s interest in this case is the effective containment of the Covid-19 virus
       and the protection of public health. Thus, the Court’s analysis of the third and
       fourth [temporary restraining order] factors converge. There can be little doubt
       that the public interest heavily favors the city’s ability to take steps to prevent
       the spread of this deadly disease. As the Eighth Circuit recently observed, the
       world “is in the midst of an unprecedented health crisis occasioned by the
       worldwide COVID-19 pandemic. Every day, the number of people infected with
       COVID-19 continues to rise, along with the virus’s death toll.”

Id. (quoting In re Rutledge, 2020 WL 1933122, at *1 (emphasis added)).

       In its Memorandum in Support of its Motion for TRO, SH3 seemingly recognizes the

gravity of its requested relief, speculating: “Perhaps Defendants will say they know better and the

harm of spreading the virus outweighs all other factors.” (Memorandum in Support of Motion for

TRO, Doc. No. 3, p. 8.) SH3 contends that such concerns—the continued, disproportionate (from

a state-wide perspective) spread of COVID-19 in the County and resulting fatalities—should not

stop this Court from enjoining the County’s efforts to combat this public health crisis because “no

single public health official is necessarily correct about the nature and course of this virus, and the

state’s head health official . . . presumably believes that it is reasonable to open businesses,

because he has not ordered all state non-essential businesses closed.” (Id.)

       What SH3 overlooks is that its merits arguments are irrelevant with respect to the balance

of the equities and public interest. To be sure, SH3 wants to open its gym. (See Complaint, Doc.

No. 1, ¶¶ 2, 16, 36, 40; Affidavit of A. Finnegan, Doc. No. 1-5, ¶ 5 (“I want to open my gym.”).)

But to do so, SH3 asks for an injunction of a public health order undeniably designed to save lives

and halt the spread of a deadly disease. This is a bridge too far. See Tolle, 2020 WL 1955281, at

*1-2; Frank, 2020 WL 2116392, at *5.6


       6
         Other courts have similarly held, in the context of motions seeking to enjoin state or local
stay-at-home orders on the basis that these orders infringe on certain constitutional rights, that the
balance of the equities and public interest disfavor granting injunctive relief. See, e.g., Lighthouse
Fellowship Church v. Northam, Case No. 2:20CV204, --- F. Supp. 3d ----, 2020 WL 2110416, at
*16-17 (E.D. Va. May 1, 2020) (in lawsuit challenging stay-at-home order’s restrictions on large


                                                  10
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 18 of 29 PageID #: 146



       In short, the balance of the equities and the public interest, i.e., SH3’s inability to open its

gym versus the County’s interest in keeping its residents alive, overwhelmingly weigh against the

issuance of a TRO. For this reason alone, SH3’s Motion for TRO should be denied.

D.     SH3’s Motion for TRO Should Be Denied under the Supreme Court’s Longstanding,
       and the Eighth Circuit’s Recently Applied, Standard for Evaluating Constitutional
       Challenges to Governmental Responses to Public Health Crises such as that
       Presented by COVID-19.

       As discussed further below, the Supreme Court has long held, and the Eighth Circuit has

recently recognized, that individual liberties secured by the U.S. Constitution are not absolute, and

the burdening of such liberties may be permissible (where it otherwise might not be) when a state

or local government is responding to a public health crisis such as that presented by COVID-19.

     1.        Jacobson v. Massachusetts

       Over a century ago, the United States Supreme Court considered in what circumstances a

state can enact laws in response to a public health crisis that infringe on constitutional rights. See

Jacobson v. Massachusetts, 197 U.S. 11 (1905). In Jacobson, the Court confronted a conflict

between the laws of Massachusetts, which empowered local boards of health to require


gatherings as applied to religious services, recognizing, in evaluating the balance of the equities,
that “[t]he Commonwealth has a responsibility to safeguard the lives of its residents” and “a
responsibility to protect frontline healthcare workers from being overwhelmed by more patients
than the Virginia health system has the capacity to adequately care for” and also recognizing,
regarding the public interest, that “[e]njoining the enforcement of the Governor’s Orders to allow
Plaintiff and other religious organizations to host gatherings of more than ten people would result
in exposing a great number of people in the community to COVID-19 if even one (knowingly or
unknowingly) sick person attends a worship service with more than ten people” and that “[t]his is
of particular concern in counties like Accomack County, where Plaintiff is located, which has
higher rates of infection and morality than many other counties”); Hartman v. Acton, Case No.
2:20-CV-1952, --- F. Supp. 3d ----, 2020 WL 1932896, at *11 (S.D. Ohio Apr. 21, 2020) (“If the
Director’s Order is enjoined, it is not merely livelihoods, but lives that would be put at risk, and
the State has an interest in public health and the safety of its citizens.” (collecting cases));
McDougall v. Cnty. of Ventura Cal., Case No. 20-CV-02927-CBM-(ASx), 2020 WL 2078246, at
*2 (C.D. Cal. Apr. 1, 2020) (“[W]hile the public interest is served by protecting Second
Amendment rights, the public interest is also served by protecting the public health by limiting the
spread of a virulent disease.”).


                                                 11
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 19 of 29 PageID #: 147



vaccinations of all inhabitants, and the liberty concerns of an individual who refused vaccination.

Id. at 12-13. The board of health in Cambridge, Massachusetts adopted a mandatory vaccination

policy while in the midst of a smallpox epidemic that was endangering public health. Id. at 12.

A citizen refused to be vaccinated and challenged the constitutionality of the law. Id. at 13-14.

        The Supreme Court held the law to be constitutional and a valid exercise of the state’s

police powers. Id. at 35. The Court began by recognizing the settled principle that “the police

power of a state must be held to embrace, at least, such reasonable regulations established directly

by the legislative enactment as will protect the public health and the public safety.” Id. at 25.

Though the Constitution protects certain liberties against the state’s police power, “the liberty

secured by the Constitution . . . does not import an absolute right in each person to be, at all times

and in all circumstances, wholly freed from restraint.” Id. at 26. “Real liberty for all could not

exist under the operation of a principle which recognizes the right of each individual person to his

own, . . . regardless of the injury that may be done to others.” Id.

        In light of these principles, the Court announced the rule that government action taken to

protect public health is valid unless it “has no real or substantial relation” to public health or it is,

“beyond all question, a plain, palpable invasion of rights secured by the fundamental law.” Id. at

31. The Court then wasted little time finding that vaccinations in the midst of an epidemic clearly

bore a real relation to public health and did not invade constitutional rights “beyond all question.”

Id. In short, the Court was “unwilling to hold it to be an element in the liberty secured by the

Constitution” that one person should have the power to “practically strip the legislative department

of its function to care for the public health and the public safety when endangered by epidemics of

disease.” Id. at 37-38. Subsequent Supreme Court decisions have bolstered the holding in

Jacobson. See, e.g., Prince v. Massachusetts, 321 U.S. 158, 166-67 (1944) (“The right to practice




                                                   12
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 20 of 29 PageID #: 148



religion freely does not include liberty to expose the community or the child to communicable

disease or the latter to ill health or death.”); United States v. Caltex, 344 U.S. 149 (1952)

(recognizing that “in times of imminent peril—such as when fire threatened a whole community—

the sovereign could, with immunity, destroy the property of a few that the property of many and

the lives of many more could be saved”).

      2.        In re Rutledge

        The Eighth Circuit Court of Appeals recently had cause to consider the Jacobson standard

in the context of a public health law enacted specifically in response to COVID-19. In Rutledge,

the Eighth Circuit concluded that the district court committed a “clear abuse of discretion” in

“fail[ing] to meaningfully apply the Supreme Court’s framework for reviewing constitutional

challenges to state actions taken in response to a public health crisis.” Id. at *4. That is, the Eighth

Circuit held that the district court clearly abused its discretion in overlooking the applicable

standard articulated by the Supreme Court in Jacobson. See id. The Eighth Circuit succinctly

explained:

                In Jacobson v. Massachusetts, the Supreme Court held that, when faced
        with a public health crisis, a state may implement measures that infringe on
        constitutional rights, subject to certain limitations. The Court explained that the
        “liberty secured by the Constitution . . . does not import an absolute right in each
        person to be, at all times and in all circumstances, wholly freed from
        restraint.” Rather, “a community has the right to protect itself against an epidemic
        of disease which threatens the safety of its members.” Therefore, while
        constitutional rights do not disappear during a public health crisis, “the rights of the
        individual in respect of his liberty may at times, under the pressure of great dangers,
        be subjected to such restraint, to be enforced by reasonable regulations, as the safety
        of the general public may demand.” With these conflicting considerations in mind,
        the Court set forth the following two-part framework: in the context of a public
        health crisis, a state action is susceptible to constitutional challenge only if it,
        “purporting to have been enacted to protect the public health, the public morals, or
        the public safety, has no real or substantial relation to those objects, or is, beyond
        all question, a plain, palpable invasion of rights secured by the fundamental law[.]”




                                                  13
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 21 of 29 PageID #: 149



Id. at *4 (internal citations omitted). Thus, the operative framework for analyzing a constitutional

challenge to a law enacted in response to a public health crisis is a two-part inquiry: (1) whether

the law has no “real or substantial relation” to the protection of the public health, the public morals,

or the public safety; and (2) whether the law is, “beyond all question, a plain, palpable invasion of

rights secured by the fundamental law.” Id. Notably, in articulating this long-standing framework,

the Eighth Circuit adopted the recent rationale of the Fifth Circuit:

        The bottom line is this: when faced with a society-threatening epidemic, a state may
        implement emergency measures that curtail constitutional rights so long as the
        measures have at least some “real or substantial relation” to the public health crisis
        and are not “beyond all question, a plain, palpable invasion of rights secured by the
        fundamental law.” Courts may ask whether the state’s emergency measures lack
        basic exceptions for “extreme cases,” and whether the measures are pretextual—
        that is, arbitrary or oppressive. At the same time, however, courts may not second-
        guess the wisdom or efficacy of the measures.

Id. at *5 (quoting In re Abbott, 954 F.3d 772, 784-85 (5th Cir. 2020))).7

      3.        The County Stay-at-Home Order Has a Real and Substantial Relation to the
                Protection of the Public Health and Safety and Is Not, Beyond All Question, a
                Plain, Palpable Invasion of Rights Secured by the Fundamental Law.

        In its Motion for TRO and Memorandum in Support, SH3 does not mention, let alone

analyze, either Jacobson or Rutledge. (See Motion for TRO, Doc. No. 2, passim; Memorandum

in Support of Motion for TRO, Doc. No. 3, passim.) Regardless, under the Jacobson framework,

any burdening of SH3’s rights secured by the U.S. Constitution is permitted, in that the enactment

with which SH3 takes issue—the County’s Stay-at-Home Order—was enacted to combat the




        7
          Notably, the Abbott court explicitly clarified that the Jacobson framework is not limited
in its application to different constitutional rights, stating that settled rule articulated in Jacobson
“allows the state to restrict, for example, one’s right to peaceably assemble, to publicly worship,
to travel, and to leave one’s home.” 954 F.3d at 778; see also id. at 778 n.1 (“Jacobson governs a
state’s emergency restriction of any individual right . . . . The same analysis would apply, for
example, to an emergency restriction on gathering in large groups for public worship during an
epidemic.”).


                                                  14
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 22 of 29 PageID #: 150



spread of COVID-19, and does not, beyond all question, constitute a plain, palpable invasion of

SH3’s rights secured by the fundamental law.

        First, the County Stay-at-Home Order has a real and substantial relation to the protection

of the public health and safety: It operates to limit the transmission of COVID-19 through reducing

the frequency and proximity of person-to-person contact. It accomplishes this in a variety of ways,

such as imposing social distancing requirements, restricting large, intentional gatherings, and as

relevant here, restricting, but not prohibiting, non-essential activities and the operations of non-

essential businesses. See Rutledge, 2020 WL 1933122, at *5 (“On the record before us, the State’s

interest in conserving PPE resources and limiting social contact among patients, healthcare

providers, and other staff is clearly and directly related to public health during this crisis.”).

        Second, the County Stay-at-Home Order is not a plain, palpable invasion of SH3’s freedom

of association, freedom of assembly, or due process rights under the U.S. Constitution.

As announced today, “public health restrictions in St. Louis County [will] be reduced starting

May 18,” and more guidance is forthcoming this week. (See Exhibit C hereto); see Rutledge, 2020

WL 1933122, at *6 (“Such an expiration date makes the ADH directive a delay, not a ban. . . .”).

In short, the County Stay-at-Home Order results in the temporary inability of SH3 to open its gym

to the public for members to exercise. This restriction is not, “beyond all question,” a “plain,

palpable invasion of rights secured by the fundamental law.” See Rutledge, 2020 WL 1933122, at

*7-8 (emphasis added).

        The court in Gish v. Newsom recently considered the Jacobson framework in the context

of religion-based challenges to state and local stay-at-home orders enacted in response to COVID-

19. 2020 WL 1979970, at *1-2. Though the stay-at-home orders varied in their restrictions, the

Riverside, California stay-at-home order prohibited “[a]ll public or private gatherings . . . including




                                                  15
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 23 of 29 PageID #: 151



but not limited to an auditorium, . . . church, . . . .or any other indoor or outdoor space used for any

non-essential purpose including, but not limited to . . . church . . . .” Id. at *2. The plaintiffs sought

to enjoin enforcement of the stay-at-home orders with respect to their desire to engage in religious

services, practices, or activities, contending that the stay-at-home orders violated certain of their

rights secured by the U.S. Constitution and the California Constitution. Id. at *3. In rejecting the

plaintiff’s motion for temporary restraining order, the court acknowledged the state and local

officials’ “right to protect California residents from the spread of COVID-19—even if those

protections temporarily burden constitutional rights to a greater degree than normally permissible.”

Id. at *4. In this regard, the court acknowledged Jacobson and the two-part framework articulated

therein. Id. at *4-5. Applying the Jacobson framework, the court concluded that the stay-at-home

orders “easily” met the test:

        The Orders easily meet [the Jacobson] test. First, they have a substantial relation
        to the COVID-19 crisis: they require the physical distancing that is needed to slow
        the spread of the virus. Second, there is no “plain, palpable invasion” of Plaintiffs’
        free exercise of religion. While Plaintiffs are unable to gather together in-person,
        they are free to gather virtually or over the phone. They are also free to gather in-
        person with the members of their household. They remain free to practice their
        religion in whatever way they see fit so long as they remain within the confines of
        their own homes. Although physical contact with others is curtailed, a wide swath
        of religious expression remains untouched by the Orders. The Orders, therefore,
        do not represent a plain or palpable invasion of the general right to free exercise of
        religion. Accordingly, the Orders are likely a permissible exercise of executive
        authority during a national emergency.

Id. at *5.

        Just as the Gish court held, applying the Jacobson two-part framework (as acknowledged

by the Eighth Circuit in Rutledge), the County Stay-at-Home Order—a public health measure

enacted in response to a worldwide health crisis—is a lawful exercise of governmental powers

notwithstanding any burden on SH3’s freedom of Association, freedom of Assembly, and due

process rights under the U.S. Constitution. As a result, SH3’s Motion for TRO should be denied.



                                                   16
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 24 of 29 PageID #: 152



E.     SH3’s Motion for TRO Should Be Denied because SH3 Is Not Likely to Succeed on
       the Merits, in that the County Stay-at-Home Order Is a Lawful Exercise of Powers
       Bestowed by Article VI, Section 18(c) of the Missouri Constitution.

       “St. Louis County is a home rule charter county.” State ex rel. St. Louis Cty. v. Campbell,

498 S.W.2d 833, 836 (Mo. Ct. App. 1973). The police power of the State of Missouri is “delegated

to charter counties by the state pursuant to article VI, section 18(c)” of the Missouri Constitution

as a governmental function. Pepper v. St. Charles Cty., Missouri, 517 S.W.3d 590, 596 (Mo. Ct.

App. 2017). Pursuant to its police power, and other constitutionally delegated powers, a charter

county “may provide for the vesting and exercise of legislative power pertaining to any and all

services and functions of any municipality or political subdivision, except school districts,

throughout the entire county within as well as outside incorporated municipalities.” Mo. Const.,

Art. VI, § 18. “Generally, the function of the police power has been held to promote the health,

welfare, and safety of the people by regulating all threats either to the comfort, safety, and welfare

of the populace or harmful to the public interest.” Craig v. City of Macon, 543 S.W.2d 772, 774

(Mo. banc 1976).

       A charter county thus possesses an implied grant of power “for the exercise of all powers

and duties of counties and county officers prescribed by the constitution and laws of the state.” See

Hellman v. St. Louis Cnty., 302 S.W.2d 911, 915 (Mo. 1957). This power is limited only if “a

charter or ordinance enacted under [section] 18(b) . . . invade[s] the province of general legislation

involving the public policy of the state as a whole.”          Flower Valley Shopping Ctr., Inc.

v. St. Louis Cnty., 528 S.W.2d 749, 754 (Mo. banc 1975) (internal quotation marks omitted)

(emphasis added). Accordingly, when a county is addressing a matter of a local concern, the

charter supersedes state law. State ex rel. St. Louis Cnty. v. Campbell, 498 S.W.2d 833, 836 (Mo.

Ct. App. 1973).




                                                 17
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 25 of 29 PageID #: 153



       Pursuant to its police and other powers, the County enjoys broad authority to protect the

public health of County residents. See Mo. Const. Art. IV, § 37; Mo. Rev. Stat. § 192.300; see

also Avanti Petroleum, Inc. v. St. Louis Cty., 974 S.W.2d 506, 508 (Mo. Ct. App. 1998) (upholding

a County tobacco-related ordinance as a valid health measure). The County Charter expressly

vests the County director of public health with “the powers and duties conferred upon deputy state

health commissioners and county health officers by law and such other powers and duties as may

be required by ordinance.” (County Charter, excerpts of which are attached hereto as Exhibit D,

§ 4.130.) That section further provides that: “The director shall have the power, without limiting

the foregoing general powers, to,” among other things, “[s]ee that laws and ordinances relating

to public health are observed and enforced” and “[e]stablish and maintain such activities and

clinics as are needed to promote the public health of the county.” (Id., § 4.130.5-.6 (emphasis

added).) This power has been adopted by St. Louis County Ordinance No. 602.020. (A copy of

Ordinance No. 602.020 is attached hereto as Exhibit E.)

       Even had the DHSS declared a “statewide pandemic” pursuant to 19 CSR 20-20.050, the

County’s Stay-at-Home Order would remain enforceable because it protects the public health and

welfare against the unique and dynamic threats that COVID-19 poses to the County and its

residents—a matter of local concern, rather than one of general, statewide policy. For instance, as

while some counties or local communities in Missouri may have experienced relatively fewer cases

of COVID-19, and thus can now begin reopening, the County has experienced a relatively higher

number of infection. Compare COVID-19 Statistics (cited above) with COVID-19 Outbreak (cited

above). The varied manner in which COVID-19 has affected local communities throughout the

State makes the local communities’ respective responses matters of local concern, particularly

when local authorities determine that more stringent measures are appropriate to protect citizens.




                                                18
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 26 of 29 PageID #: 154



Likewise, decisions regarding the speed at which the County can reopen, and the time, place, and

manner in which that reopening should occur, are of such a distinctly local character and dependent

on the unique circumstances at hand in the County, that it would be virtually impossible to

reasonably make them on a general, state-wide basis.8

       Accordingly, the Stay-at-Home Order addresses a matter of local concern and preempts

any state statues or regulations purportedly in conflict. See Mo. Const. Art. VI § 18(c); see also

Readey v. St. Louis Cty. Water Co., 352 S.W.2d 622, 627 (Mo. 1961) (upholding an ordinance

adding fluoride to County water as reasonably related to public health because it was designed to

decrease tooth decay, a widespread and serious disease); Casper v. Hetlage, 359 S.W.2d 781, 790

(Mo. 1962) (10) (County zoning ordinances superseded purportedly inconsistent state statute

because zoning was local issue); State ex rel. St. Louis Cty. v. Campbell, 498 S.W.2d 833, 836

(Mo. Ct. App. 1973) (County Charter provision relating to condemnation prevailed over state

statute and rule because “the power of condemnation is a matter of local concern so that the

procedure specified in the charter supersedes the statutes.”); Barber v. Jackson Cty. Ethics

Comm'n, 935 S.W.2d 62, 66 (Mo. Ct. App. 1996). Indeed, enactment of the County’s Stay-at-

Home Order, to extend greater protections as a result of the unique circumstances facing the

County, is a quintessential exercise of the County’s constitutionally delegated power to protect the

health and safety of its residents. See Hellman, 302 S.W.2d at 916 (“Little purpose would be



       8
          To be clear, the County does not suggest that the novel coronavirus is not of concern to
the entire State of Missouri. Rather, the County asserts that local government response to the virus
based on the unique and changing threats it poses to local communities, including the issuance of
quarantine orders, business closure orders, and ultimately, reopening orders, is of a distinctly and
appropriately local concern. See, e.g., 19 CSR 20-20.040(2)(E) (local governments may institute
quarantine measures); 19 CSR 20-20.040(2)(G) (local governments may establish appropriate
control measures, including isolation, quarantine, or closure of establishments); 19 CSR 20-
20.040(2)(I) (local governments may assume direct responsibility as director of health institute
control measures necessary for the protection of the public health).


                                                19
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 27 of 29 PageID #: 155



served in authorizing the adoption of charters of local self-government in the more populous

counties if such counties could not adopt reasonable means and methods of carrying out their

governmental functions in such a manner as to meet the peculiar needs of such counties.”).

       As a result, SH3’s contention that the County and the County Defendants lack authority to

continue implementation of the Stay-at-Home Order is incorrect. SH3 is therefore unlikely to

prevail on the merits, such that its Motion for TRO should be denied.

F.     SH3’s Motion for TRO Should Be Denied because SH3 Is Not Likely to Succeed on
       the Merits, in that the County Stay-at-Home Order Is Consistent with 19 CSR 20.20-
       050(3) and Section 192.290 RSMo., the Regulation and Statute on which SH3 Relies.

       SH3 contends that Section 192.290 RSMo., precludes the County and the County

Defendants from enacting any regulation that contradicts the rules and regulations of the DHSS,

including 19 CSR 20-20.050(3), which provides that, “in a statewide pandemic, only the director

of the Department of Health and Senior Services or the director’s designated representative shall

have the authority to close a public or private school or other place of public or private assembly.”

19 CSR 20-20.050(3).

       SH3’s contention is unlikely to succeed on the merits for a number of reasons, including

that 19 CSR 20-20.050(3) is inapplicable. Among other things, the predicate for applying 19 CSR

20-20.050(3), the DHSS’s declaration of a “statewide pandemic,” is not satisfied. Under the

DHSS’s regulations, a “statewide pandemic” is defined as “an outbreak of a particularly dangerous

disease affecting a high proportion of the population, appearing in three (3) or more counties, as

declared by the director of the Department of Health and Senior Services.” 19 CSR 20-20.010(37).

The Director of the DHSS has not declared that a statewide pandemic exists in Missouri. (See,

e.g., the DHSS’s April 27, 2020 Order, Exhibit A hereto, passim; the DHSS’s April 16, 2020

Order, attached as Exhibit 6 to Plaintiffs’ Complaint, Doc. No. 1-11, passim; the DHSS’s April 3,

2020 Order, attached as Exhibit 7 to Plaintiffs’ Complaint, Doc. No. 1-10, passim.) SH3 fails to


                                                 20
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 28 of 29 PageID #: 156



show—indeed, it does not even attempt to show—that this condition is satisfied: SH3 presents no

evidence or argument of a DHSS declaration of a “statewide pandemic,” nor does SH3 attempt

argue that COVID-19 is “affecting a high proportion of the population” within the meaning of the

regulation. Absent a “statewide pandemic,” 19 CSR 20-20.050(3) reserves the power to “close any

public or private school or other place of public or private assembly” concurrently in both “the

director of the Department of Health and Senior Services or the director’s designated

representative” and “the local health authority”—here, the County and its Department of Public

Health (i.e., the County Defendants).

       The County’s Stay-at-Home Order is not inconsistent with 19 CSR 20-20.050(3), and

Section 192.290 RSMo thus does not preclude its enforcement. Indeed, the DHSS has confirmed

that local governments, like the County, maintain their authority to enact measures more stringent

than the State’s. (See, e.g., the DHSS’s April 27, 2020 Order, Exhibit A hereto, at p. 2 (“Nothing

herein shall limit the right of local authorities to make such further ordinances, rules, regulations,

and orders not inconsistent with this Order which may be necessary for the particular locality under

the jurisdiction of such local authorities.”); Guidelines and Frequently Asked Questions, attached

as Exhibit B hereto, at p. 7 (“Local health authorities may enforce more restrictive public health

requirements for businesses or individuals.”).).

       For this additional reason as well, SH3 is unlikely to prevail on the merits. As a result,

SH3’s Motion for TRO should be denied.




                                                   21
Case: 4:20-cv-00605-SRC Doc. #: 19 Filed: 05/05/20 Page: 29 of 29 PageID #: 157



                                    IV.    CONCLUSION

       For the foregoing reasons, Defendants Samuel Page, M.D., and Emily Doucette, M.D.

respectfully request that the Court deny Plaintiff SH3 Health Consulting, LLC’s Motion for

Temporary Restraining Order, and grant such other and further relief as deemed to be proper under

the circumstances.



                                                    Respectfully submitted,

                                                    LEWIS RICE LLC

Dated: May 5, 2020                          By:     /s/ Neal F. Perryman
                                                    Neal F. Perryman, #43057 (MO)
                                                    Michael L. Jente, #62980 (MO)
                                                    Jerina D. Phillips, #65103 (MO)
                                                    600 Washington Avenue, Suite 2500
                                                    St. Louis, Missouri 63101
                                                    Telephone: (314) 444-7661
                                                    Facsimile: (314) 612-7661
                                                    nperryman@lewisrice.com
                                                    mjente@lewisrice.com
                                                    jphillips@lewisrice.com

                                                    and

                                                    BETH ORWICK
                                                    COUNTY COUNSELOR

                                                    Steven J. Capizzi, #56209 (MO)
                                                    Associate County Counselor
                                                    Office of County Counselor
                                                    41 S. Central, Ninth Floor
                                                    Clayton, MO 63105
                                                    (314) 615-7042 tel.
                                                    (314) 615-3732 fax
                                                    scapizzi@stlouisco.com

                                                    Attorneys for Defendants Sam Page, M.D.
                                                    and Emily Doucette, M.D.




                                               22
